    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 1 of 50 PageID #:1
                                                                                   F!LED
                                                                                     NOV   18 2020o
                                                                                THOMAS G. BRUTON
                            UNITED STATES DISTRICT COURT                     CLERK, U.S. DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   UNITEDSTATESoFAMERICA                            ,)   No. l
                                                               p^0CR                       8L2
                     v.)
                                                    )    Violations: fitle 18, United States
   MICHAEL McCLAIN,                                 )    Code, Sections 371,666(aX2), and
   ANNE PRAMAGGIORE,                                )    2; and Title 15, United States
   JOHN HOOKER, and                                 )    Code, Sections 78m(bX5) and
   JAY DOHERTY                                      )    78ff(a)
                                                                     JUDGE LHNffiltil[BER

                                           COUNT     ONE         MAGISTRAIE JUDGE VALDEZ

       The SPECIAL JANUARY 2019 GRAND JURY charges:

       1.       At times material to this indictment:

                      Commonwealth Edison Company and Affrliates

                a.     Commonwealth Edison Company ("ComEd"), with headquarters

Iocated   in   Chicago, delivered electricity      to industrial, commercial and residential
customers across northern Illinois and was the Iargest utility company in the State.

                b.     As   a   utility, ComEd was subject to extensive regulation by the State

of Illinois. The State of Illinois regulated the rates that ComEd could charge its

customers, as weli as the rate of return ComEd could realize from its business operations.

                c.     ComEd maintained a summer internship program (the "ComEd

Internship Program") that provided paid internship positions to students. Based on

their performance during the internship, participating students could be considered for

subsequent summer internship positions or fuIl-time jobs within ComEd.
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 2 of 50 PageID #:2




             d.       ComEd was           a   majority-owned indirect subsidiary    of   Exelon

Corporation ("Exelon"), a       utility   services holding company that provided energy to

customers in multiple    states. ComEd         and Exelon had a class of securities registered

pursuant to Section   12 of   the Securities and Exchange Act of 1934 (15 U.S.C.   5 78a et seq.)


and were required to file reports with the Securities and Exchange Commission under

Section 15(d) of the Exchange      Act. ComEd and Exelon were therefore each an "issue/'
under the Foreign Corrupt Practices Act of 1977 (the "FCPA").

             e.       Exelon Business Services Company, LLC ("Exelon Business

Services") was a limited liability company organized under the iaws of the State of

Delaware. Exelon was the sole member of Exelon Business Services. Exelon
Business Services provided support functions for companies affiliated with Exelon such

as ComEd, including but not limited to contracting, accounting, and vendor payment

functions.

                  ComEd and Exelon's Internal Controls Program

             f.       Pursuant to the FCPA, issuers, such as ComEd and Exelon, were

required to maintain a system of internal accounting controls sufficient to provide

reasonable assurances         that: (i)   transactions were executed     in aecordance with
management's general          or specific authorization; (ii) transactions were recorded      as


necessary to (A) permit preparation of financial statements in conformity with generally

accepted accounting principles or any other criteria applicable to such statements, and

(B) maintain accountability for assets; (iii) access to assets was perrnitted only in
   Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 3 of 50 PageID #:3




accordance with management's general or specifrc atthorrzation; and (iv) the recorded

accountability for assets was compared with the existing assets at reasonable intervals,

and appropriate action was taken with respect to any differences. The FCPA

prohibited anyperson from knowingly and wilIfully circumventing orfailingto implement

the required system of internal accounting controls or knowingly and willfully falsiSring

any book, record, or account that issuers were required to keep.

               g.   Exelon, together with ComEd and Exelon Business Services,

maintained a system of internai controls to detect and prevent improper payments,

including bribe payments. These controls included various policies, programs and

procedures designed   to ensure that Exelon's books and records, and those of their

majority-owned subsidiaries including ComEd and Exelon Business Services, accurately

reflected transactions engaged in by the company. The controls were also designed to

detect unlawful payments, and included requiring multiple employees to be involved in

the approval of contracts that exceeded specified amounts and auditing to help ensure

accurate reporting of payments. Exelon maintained a corporate anti-bribery policy and

implemented a Code of Business Conduct, which governed the conduct of Exelon,

ComEd, and Exelon Business Services employees and agents, inciuding third-party

consultants.

               h.   From in or around 2006 through in or around 20l5,,the Code of

Business Conduct provided     that "[m]anagement is accountable for establishing and

maintaining a system of internal controls within an organization," that management was
   Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 4 of 50 PageID #:4




required to "ensure that there is clear, complete, fair, and accurate reporting of financial

and non-financial information pertaining to business transactions," and that management

was accountable to the Exelon board of directors for compliance. The Code of Business

Conduct further specified that employees were accountable for "recording all business

transactions, events and conditions accurately and completely," and were prohibited from

"falsifiring data, information or records with respect to the Company's flnances or

operations, including those related to, among other things: assets, liabilities, revenues,

expenses and earnings . . . ." and from "creating off-book accounts or funds or making any

other entry in any other record that intentionally misrepresents, conceals or disguises

the true nature of any transaction, event or condition . . . ." Senior offlcers of Exelon

were also required to ensure that internal controls around financial reporting were

properly designed and effective, and were further required to promptly report any

vioiations of these requirements. The Code of Business Conduct further provided that

the "FCPA also requires that publicly held companies, like Exelon, maintain accurate

books, records and accounts and devise a system ofinternai accounting controls sufficient

to provide reasonable assurance that, among other things, the Company's books and

records fairly and accurately reflect business activities and transactions."

              i.     In or around 2015, the Code of Business Conduct was revised, and

from in or around 2015 to in or around 2019 provided that "[b]usiness and financial records

are essential to our business operations. Exelon relies on the integrity and accuracy of

these records to make strategic decisions and has designed and implemented a series of
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 5 of 50 PageID #:5




internal controls-organizational structures, processes, procedures, systems, etc.-to

effectively manage financial    reporting." The      Code   of Business Conduct further

instructed employees to: "[n]ever keep off-the-book accounts or false or incomplete

records"; "[n]ever make an entry in any record that intentionally misrepresents, conceals

or disguises the true nature ofany transaction, event or condition"; "[r]ecord all business

transactions, events and conditions accurately, completely and       in a timely fashion";

"[e]nsure that there is clear, complete fair and accurate reporting and supporting records

of financial information pertaining to     business transactions"; "[n]ever mislead or

misinform anyone about our business operations or frnances"; "fi]mmediately report any

requests received to manipulate accounts, books and records, or financial reports, and

any suspected misconduct regarding accounting, internal controls, or auditing matters to

the Ethics and Compliance Office, Audit and Controls, or the Legal Department." The

Code of Business Conduct further emphasized under the heading "Fighting Bribery and

Corruption" that bribes and kickbacks of any kind violated the Code of Business Conduct

and were illegal, and that the FCPA "[r]equires that publicly held companies, Iike Exelon,

have accounting controls to assure that all transactions are recorded fairly and accurately

in our financial books and records." The         Code of Business Conduct provided the

following examples of what was expected of employees and agents: (a) "[k]eep accurate

and complete records so ali payments are honestly detailed and company funds are not

used   for unlawful purposes"; (b) "[c]onduct due diligence on all potential        agents,

consultants or other business partners"; and (c) "[n]ever use a third party to make



                                             5
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 6 of 50 PageID #:6




payments or offers that could be improper." Exelon's Code of Business Conduct also

prohibited bribery and listed as an example of a prohibited bribe: "Providing something

of value for the benefit of a public official in a position to make a decision   that could benefit

the company."

              j.      Exelon, together with ComEd and Exeion Business Services,

provided training on the Code of Business Conduct to employees in the form of training

guides.

               k.     Employees of Exelon and         its subsidiaries, including ComEd and

Exelon Business Services, were required to annually certify adherence to Exelon's Code

of Business Conduct. Employees were also required to promptly report potential

violations of the Code of Business Conduct, including but not limited to "[a]ccounting

improprieties, internal accounting controls or auditing matters."

                           The Illinois General Assembly and
                         Legislation Affecting ComEd's Business

               l.     The State of Illinois annually received in excess of $10,000 in federal

benefits in each calendar year from 2011 through 2019.

               m.     The legislative branch of government for the State of Illinois was

commonly known as the Iltinois General Assembiy. The Illinois General Assembly was

composed of two houses: The House of Representatives and the Senate.
'              ,.     The Illinois General Assembly routinely considered bitis and passed

Iegislation that had an impact on ComEd's operations and profitability, including
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 7 of 50 PageID #:7




Iegislation that affected the regulatory process used to determine the rates ComEd eould

charge customers for the delivery of electricity.

              o.     In   2011, the General Assembly passed the Energy Infrastructure

and Modernization Act     ("EIMA"). EIMA      provided for a regulatory process through

which ComEd was able to more retiably determine rates     it   could charge customers and,

in turn, determine how much money it was able to generate from its operations to cover,

among other things, costs for grid-infrastructure improvements. The passage of     EIMA

therefore helped improve ComEd's financial stabiiity.

              p.     Following the passage of EIMA, the Illinois Commerce Commission

("ICC") interpreted the language of EIMA in a manner adverse to ComEd. In 2013, the

General Assembly passed legislation, known as Senate Bill 9, that effectively overruled

the ICC's adverse interpretation of EIMA.

              q.     On or about December 1, 2016, the General Assembly passed the

Future Energy Jobs Act ("FEJA"), which provided for a renewal of the regulatory

process that was beneficial to   ComEd. After the passage of FEJA, ComEd maintained

a continuing interest in advancing legislation in the General Assembly favorable to its

interests, and opposing legisiation that was not consistent with its operational and

financial success.
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 8 of 50 PageID #:8




                   The Thirteenth'Ward Democratic Organization

              r.     The City of Chicago was divided into fifty       wards.      Flach ward

publicly elected an individual, known as an Alderman, to represent the ward on the

Chieago City Council.

              s.     Each ward also publicly elected individuals for each respective

political party that were each known as a "Committeeman" or "Committeeperson." A

Committeeman had varying roles in each ward, that could include such tasks and duties

as addressing day-to-day grievances presented by ward residents; having a role in

endorsing candidates for office and deciding the composition of the "slate" of candidates

for their political party for office within Cook County; and having   a   role in deciding who

would be appointed to fiti any vacancies that arose with respect to certain public offices.

              t.     The Thirteenth Ward DemocraticOrganization was a political party

committee that maintained an offlce within Chicago's Thirteenth Ward at 6500 South

Pulaski Road, Chicago, Iliinois (the "Thirteenth Ward Office"). The purpose of the

Thirteenth Ward DemocraticOrganization was to, among other things, cultivate support

for political candidates and public officials who ran for and heid public office through     a


variety of means, which included door-to-door campaigning by political workers,

including those known as "precinct captains," who were associated with the Thirteenth

Ward Democratic Organization.
   Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 9 of 50 PageID #:9




                          Defendants and Relevant Individuals

              u.       Public Official A was the Speaker of the House of Representatives

and an elected member of that      body. As   Speaker of the House of Representatives,

Public Offrcial A was able to exercise control over what measures were called for a vote

in the House of Representatives. Public Official A also exercised substantial influence

over fellow lawmakers concerning legislation, including legislation affecting ComEd.

Public Official A was elected from a House district that was largely made up of two

Chicago wards: the Thirteenth Ward and the Twenty-Third     Ward.   Public Official A was

also Democratic Committeeman for the     Thirteenth Ward and Chairman of the Thirteenth

Ward Democratic Organization.

              v.       Defendant MICHAEL McCLAIN served with Public Official A in

the House of Representatives for approximately ten years beginning in 1972. After

McCLAIN's service in the House of Representatives, McCLAIN served as a lobbyist

and/or consultant for ComEd until in or around   2079. McCLAIN was an attorney who

was registered to practice law from between in or around 1977 to in or around 2016.

              w.       Defendant ANNE PRAMAGGIORE was the chief executive officer

of ComEd between in or around March 2012 and May 2018. From on or about June           1,


2018   to on or about October 1.5,20L9, PRAMAGGIORE served as a senior executive at

an affiliate of Exelon, and had oversight authority over ComEd's             operations.

PRAMAGGIORE was an attorney who was registered to practice law from between in

or around   1989   to in or around 2019. Each year between in or around 2012 and in or
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 10 of 50 PageID #:10




around 20L6,PRAMAGGIORE received annual ethics training, including training on the

duty to maintain accurate books and records. Each year between in or around 2010 and

in or around 2018, PRAMAGGIORE certified her understanding of the'Code of Business

Conduct.

        .     x.     Defendant JOHN HOOKER served as ComEd's executive vice

president of legisiative and external affairs from in or aro-und 2009 until his retirement in

or around 201.2. From in or around20tZ to in or around 2019, HOOKER served as an

external lobbyist for ComEd. Exelon required HOOKER to eerti$r his understanding

of the Code of Business Conduct. Between in or around 2010 and in or around 2011,

HOOKER certified his understanding of the Code of Business Conduct.

              y.     Fidel Marquez served as ComEd's senior vice president of external

and governmental affairs from in or around March 2012 until in or around September

20L9. Each year between in or around 2012 and in or around 2016, Marquez received

annual ethics training, including training on the duty to maintain accurate books and

records. Each year between in or around       2010   to in or around 2018, Marquez certified

his understanding of the Code of Business Conduct.

              z.     Defendant JAY DOHERTY was the owner of Jay D. Doherty &

Associates ("JDDA"), which performed consulting services for ComEd beginning prior

to in or around 2011 and continuing until in or around 2019.




                                             l0
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 11 of 50 PageID #:11




              aa.    Individual lSW-1 was the Alderman for the Thirteenth Ward from

in or around 1994 until on or about Aprii 30,2011, and was the Treasurer of the Thirteenth

Ward Democratic Organization.

              bb.    Individual 13W-2 was associated with the Thirteenth Ward

Democratic Organization and was a precinct captain within the Thirteenth Ward.

              cc.    Individual 13W-3 was associated with the Thirteenth Ward

DemocraticOrganization and was a precinct captain within the Thirteenth Ward.

              dd.    Individual 23W-1 was the Alderman for the Twenty-Third Ward

until on or about May 31, 2018.

              ee.    Individual BM-1 was a resident of Elmwood Park, Illinois, who

sought a position on ComEd's board of directors.

       2.     Beginning no later than in or around 2011, dnd continuing through in or

around 201,9, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                   MICHAEL MCCLAIN,
                                  ANNE PRAMAGGIORE,
                                   JOHN HOOKER, and
                                     JAY DOHERTY,

defendants herein, did conspire with each other, Fidel Marquez, and others known and

unknown to the Grand Jury:

              a.     to corruptly solicit and demand, and to accept and agree to accept

from another person things of value, namely, jobs, contracts, and monetary payments

associated with those jobs and contracts, for the benefit of Public Official       A   and his

associates, intending that Public Offlcial A, an agent of the State of Illinois, be influenced


                                              11
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 12 of 50 PageID #:12




and rewarded in connection with any business, transaction, and series of transactions of

the State of Illinois involving things of value of $5,000 or more, namely, legislation

affecting ComEd and its business, in violation of Title 18, United States Code, Section

666(aX1)(B);

               b.      .   to corruptly give, offer, and agree to give things of valu6, nameiy,

jobs, contracts, and monetary pa;rments associated with those jobs and contracts, for the

benefit of Public Offlcia] A and his associates, with intent to influence and reward Public

Official A, as an agent of the State of Illinois, in connection with any business, transaction,

and series of transactions of the State of Illinois involving things of value of $5,000 or

more, namely, legislation affecting ComEd and its business, in violation of Title 18, United

States Code, Section 666(a)(2); and

               c.          knowingly and willfully    to   circumvent   a   system   of   internal

accounting controls and to falsify any book, record, and account of Exelon and ComEd, in

violation of Title   15,   United States Code, Sections 78m(bX5) and 78ff(a).

       3.      It    was part of the consplvacy that, for the purpose of influeneing and

rewarding Pubiic Official A in connection with his offrcial duties as Speaker of the Illinois

House of Representatives, and to assist ComEd with respect to the passage of legislation

favorable to ComEd and its business and the defeat of legislation unfavorabie to ComEd

and its business, the conspirators (i) anranged for various associates of Public Official A,

including Public Official A's political allies and individuals who performed political work

for Public Official A, to obtain jobs, contracts, and monetary payments associated with



                                                 t2
     Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 13 of 50 PageID #:13




those jobs and contracts from ComEd and          its affiliates, even in instances where such

associates performed      little or no work that they were purportedly hired to perform for

ComEd; and (ii) created and caused the creation of false contracts, invoices and other

books and records        to   disguise the true nature   of certain of the payments and to

circumvent internal controls.

          Hiring of Publie Official A's Associates as Vendor "Subeontraetors"
                     Who Performed Little or No Work for ComEd

         4.     It   was further part of the conspirucy that Public Official A and McCLAIN

sought    to obtain fuom ComEd jobs, vendor contracts and subcontracts, as well as
monetary payments for various associates of Public Official A, including Public Official

A's political allies and individuals who performed political work for Public Official A, such

as   ward precinct captains who worked within Public Offieial A's district.

         5.     It was further part of the conspiracy that ComEd, together with senior
executives and agents          of the   company, including   but not limited to McCLAIN,
PRAMAGGIORE, HOOKER, and Fidel Marquez, cornrptly arranged for jobs, vendor

contracts and subcontracts, as well as monetary payments to be provided to various

associates of Public Official A.

         6.    It    was further part of the conspiracy that, at certain times, in order to

conceal the nature and source of the payments and to prevent detection of the iliegal

activity, these jobs, vendor subcontracts, and monetary payments were indirectly

provided to Public Offieial A's associates through third-party intermediaries.




                                                13
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 14 of 50 PageID #:14




        7.     It   was further part of the conspiracy that certain recipients of these jobs,

vendor contracts and subcontracts, as well as monetary payments, often did little or no

work in return for such benefits.

        8.     It   was further part of the conspiracy that the conspirators caused third-

party intermediaries to enter into false contracts, to submit false invoices for payment,

and   further caused the creation and retention of other false documents and records within

Exelon, ComEd and Exelon Business Services that made it falsely appear that payments

intended forthird-partyintermediaries were solely forlegitimate services to be rendered

or actually rendered by the third-party intermediaries, when in fact, the contracts,

invoices and internal documentation were intended to disguise the fact that a substantial

amount of the payments to the third-party intermediaries was intended for Public Officiai

A's associates, who performed little or no work for ComEd.

        9.     It   was further part of the conspiracy that, at times, Public Official A's

associates who were recipients         of vendor subcontracts and monetary        payments

submitted invoices to third-party intermediaries, purporting to document services for the

benefit of ComEd, concealing the fact that little or no work was performed by them for

the benefit of ComEd, in order to ensure the continuation of such pa;rments.

                                  Retention of Law Firm A

        10. It was further part of the conspiracy that the conspirators      caused ComEd

to retain Law Firm A, for the purpose of influencing and rewarding Publie Official A in

connection with Public Offieial A's official duties.



                                               1.4
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 15 of 50 PageID #:15




        11.   It was furbher part   of the conspiracy that, in or around 2011,   McCLAIN and

HOOKER, who were not members of ComEd's legal department, advised a member of

ComEd's legal department that       it   was important to retain Law Firm    A.    Thereafter,

Law Firm A was retained by ComEd pursuant to a contract that provided Law Firm A

would be provided with approximately 850 hours of work ayear.

        12. It   was further part of the conspiracy that,              in or around 2014,
PRAMMAGGIORE instructed a member of ComEd's legal department that Law Firm

A's contract had to be renewed and that McCLAIN had to be dealt with in connection

with the renewal of the contract.

       13.    It was further part of the conspiracy that, in or around   2016, aft,erpersonnel

within ComEd sought to reduce the number of hours of legal work provided to Law Firm

A   because there was not enough appropriate legal work         to provide to Law Firm A,

McCLAIN interceded with PRAMAGGIORE, in order to cause Law Firm A's contract

to be renewed on terms acceptable to Law Firm A.

       74. It was further part of the conspiracy         that, in or around 2016, a ComEd

employee, who was assigned as a project manager by PRAMAGGIORE to assist with

the project of obtaining legislative approval of FEJA-and who had no oversight

authority over ComEd's legal department-began to monitor the renewal of Law Firm

A's contract in order to help ensure that Law Firm A's contract was renewed.

       15. It    was further part of the conspiracy that,          in or around 2016, the
conspirators caused ComEd to enter into a new contract with Law Firm A, with the



                                               15
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 16 of 50 PageID #:16




intent to influence and reward Public Official A in connection with Public Official A's

official duties, including the promotion and passage of legislation that affected ComEd.

                               Thirteenth Ward Interns

       16.   Itwas furtherpart ofthe conspiracythat, forthe purpose ofinfluencingand

rewarding Public Official A, the conspirators caused positions in the ComEd Internship

Program to be set aside for individuals associated with the Thirteenth Ward who were

identified by McCLAIN.

       17. It was further part of the conspiracy that potential Thirteenth Ward
interas identified by McCLAIN did not need to compete against the general intern

applicant pool, and instead, received more favorable treatment when it came to assessing

their qualifications for a position within the ComEd Internship Program.

       18. It was further part of the conspiracy that Marquez would contact other
employees within ComEd for the pwpose of stressing the need to hire interns who were

referred by McCLAIN, and ensuring that Thirteenth Ward interns received favorable

treatment during the hiring process.

      19. It was further part of the conspiracy that ComEd's minimum academic
requirements for intern candidates, such as a minimum required grade point average,

were waived at times for certain Thirteenth Ward intern candidates who did not meet

those requirements.




                                           16
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 17 of 50 PageID #:17




                              Apoointment to ComEd Board

       20. It was further part of the conspiracy that, by no later than in or around
November 2017, Public Official A and McCLAIN sought the appointment of Individual

BM-1 to the ComEd board of directors, and PRAMAGGIORE agreed to seek the

appointment of Individual BM-1with the intent to influence and reward Public Offrcial A

in connection with Public Official A's official duties.

       2I.    It   was further parl of the conspiracy that between in or around 2017 and in

or around 2019, PRAMAGGIORE took steps to cause ComEd to appoint Individuai BM-

1 to the board of directors, including urglng other ComEd executives to agree to and

arrange for Individual BM-l's appointment.

       22. It      was further part of the consprracy that,     in or   around    April   2019,

Individual BM-1was appointed to the ComEd board of directors.

                                Hiring of Other Individuals

       23. It was further part of the conspiracy that McCLAIN                regularly made

requests on Public Official A's behalf to PRAMAGGIORE, Marquez, and other personnel

within ComEd to hire individuals associated with Public Official A as full-time employees,

consultants, and contraetors.

       24.    It was further part of the conspiracy that, for the purpose   of influencing and

rewarding Public Officiai A, the conspirators secured and attempted to secure jobs and

contracts for these individuals as requested by McCLAIN.




                                              17
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 18 of 50 PageID #:18




                                        Concealment

       25.    It   was further part of the conspiracy that, in order to conceal the unlawful

benefits tendered for the purpose of influencing and rewarding Public Offlcial A, the

conspirators concealed multiple violations         of Exelon's Code of Business Conduct,
including violations of: (i) the requirement to keep accurate and complete records of all

payments made by ComEd, Exelon and Exelon Business Services; (ii) the prohibition on

never using a third party to make pa;rments or offers that could be improper; and (iii) the

prohibition on "providing something of value for the benefit of a public official in a position

to make a decision that could benefit the company."

       26.    It was further part   of the conspiracy that, in order to conceal the nature and

purpose of their conduct, conspirators often referred to Public Offlcial A as "our Friend,"

or "a Friend of ours," rather than using Public Official A's true name.

       27. It was further part of the conspiracy that the defendants and their co-
conspirators misrepresented, concealed and hid, and caused to be misrepresented,

concealed and hidden, and attempted        to misrepresent, conceal and hide acts done in

furtherance ofthe conspiracy and the purpose ofthose acts.

                                         Overt Acts

       28.    In furtherance of the conspiracy and to effect its objects and purposes, the

defendants and their co-conspirators committed and caused             to be   committed the

following overt acts, among others, within the Northern District of Illinois and elsewhere:




                                              18
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 19 of 50 PageID #:19




             a.          On or about each date set forth below, defendants caused payments

to be made to JDDA in the approximate amount set forth below, with a substantial

portion of each payment intended for associates of Public Offrciai A:


             Overt Aet                       Date                  Amount

                  a-1                      0u27120t4                $31,000


                  a-2                      0310312074               $31,000


                  a-3                     0313112014                $43,000


                  a-4                     0412812014                $37,ooo


                  a-5                     0513012014                $37,000


                  a-6                     07103120t4                $37,000


                  a-7                     0712812014                $37,000


                  a-8                     0812912014                $37,000


                  a-9                     09129120L4                $37,000


                  a-10                    1013012014                $37,ooo


                  a-11                    tzl0y20L4                 $37,000


                  a-12                    L2129120L4                $37,ooo


                a-13                      0U29120L5                 $37,000



                                              19
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 20 of 50 PageID #:20




          Overt Aet                Date                 Amount

             a-14               03102120t5              $37,000


            a-15                03130120t5              $37,000


             a-t6               0412712015              $37,000


            a-17                0610L120L5              $37,ooo


            a-18                0612912015              $37,ooo


            a-19                08ltu20t5               $37,000


            a-20                08/31/2015              $37,000


             a-21               0912812015              $37,000


            a-22                10129120L5              $37,000


            a-23                tU30t20t5               $37,000


            a-24                t2128120t5              $37,000


            a-25                0u2912016               $37,000


            a-26                02129120t6              $37,000


            a-27                0313U20t6               $37,000


            a-28                04128120t6              $37,000




                                    20
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 21 of 50 PageID #:21




          Overt Act                Date                 Amount

            a-29                0513112016              $37,ooo


            a-30                0612712016              $37,000


            a-31                0810U2076               $37,000


            a-32                0812912016              $37,ooo


            a-33                09129120t6              $37,000


             a-34               L013y2016               $37,000


            a-35                rU2812076               $37,000


            a-36                0310212017              $69,500


            a-37                0aBl20t7                $65,000


            a-38                05130120L7              $32,500


            a-39                0610u20t7               $32,500


            a-40                0612912077              $32,500


            a-4L                07l3u20tt               $32,500


            a-42                09lLU20t7               $32,500


            a-43                0912912077              $32,500
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 22 of 50 PageID #:22




          Overt Aet                Date                 Amount

             a-M                 r013012017             $32,500


             a-45               ru27lznfi               $32,500


             a-46               0Ur6l20t8               $32,500


             a-47               04103120t8              $65,ooo


             a-48               041t6120L8              $32,500


            a-49                04t30t20L8              $32,500


            a-50                0512912018              $32,500


            a-51                06129/2078              $32,500


            a-52                0713012018              $37,500


            a-53                0812712018              $37,500


            a-54                t0l0V20t8               $42,500


             a-55               r0t29t2018              $37,500


            a-56                7U30120L8               $37,500


            a-57                L2l3Ll20t8               $3,750


            a-58                0Lt04t2019              $33,750




                                    22
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 23 of 50 PageID #:23




             Overt Act                       Date                   Amount

                  a-59                    04/01120L9                $112,500


                  a-60                    0410912019                 $37,500


                  a-61                    05103120L9                 $37,500



             b.         On or about each date set   forth below, defendant DOHERTY caused

a check to be made to Individual 13W-1 in the approximate amount set forth below, for

payments totaling approximately $256,000:


            Overt Act                        Date                   Amount

                  b-1                     t2/30/2013                 $4,000


                  b-2                     0r13112014                 $4,000


                  b-3                     02128120t4                 $4,000


                  b-4                     0313y20t4                  $4,000


                  b-5                     0430/2014                  $4,000


                  b-6                     05130120L4                 $4,000


                  b-7                     06130120t4                 $4,ooo


                  b-8                     07/3y20t4                  $4,ooo




                                              OD
                                              h.)
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 24 of 50 PageID #:24




         Overt Act                 Date                 Amount

             b-9                 0813y2074               $4,000


            b-10                 09t30t20L4              $4,ooo


            b-11                 t013112014              $4,000


            b-12                 r1130120L4              $4,000


            b-13                 12131.12074             $4,ooo


            b-14                 }UgU20t5                $4,000


            b-15                0212812015               $4,000


            b-16                0313u2015                $4,000


            b-t7                04130120t5               $4,ooo


            b-18                0513U2015                $4,000


            b-19                0613012015               $4,000


            b-20                0713u20r5                $4,000


            b-27                0813u2015                $4,ooo


            b-22                0913012015               $4,000


            b-23                t0l3ll20t5               $4,000
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 25 of 50 PageID #:25




         Overt Act                 Date                 Amount

            b-24                 L713012015              $4,000


            b-25                 t2131120t5              $4,000


            b-26                 0U31120L6               $4,000


            b-27                 0212912016              $4,000


            b-28                 0313L120t6              $4,000


            b-29                 0413012016              $4,ooo


            b-30                0513112016               $4,000


            b-31                0613012016               $4,000


            b-32                07/3u2076                $4,000


            b-33                08/31/2016               $4,000


            b-34                0913012016               $4,000


            b-35                1013112016               $4,ooo


            b-36                 Lu30l2016               $4,000


            b-37                03103120t7               $4,000


            b-38                0310312017               $4,ooo
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 26 of 50 PageID #:26




         Overt Act                 Date                 Amount

            b-39                0313112017               $4,000


            b-40                0410512017               $4,000


            b-41                06105120L7               $4,000


            b-42                0610812077               $4,000


            b-43                07106120]-7              $4,ooo


            b-44                0713u2017                $4,000


            b-45                0917512017               $4,000


            b-46                r0106120t7               $4,ooo


            b-47                tU06t2077                $4,000


            b-48                12t07t2017               $4,ooo


            b-49                0U23120t8                $4,000


            b-50                041t012018               $4,000


            b-51                04110120t8               $4,000


            b-52                04124120t8               $4,000


            b-53                0510712018               $4,ooo
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 27 of 50 PageID #:27




             Overt Act                    Date                    Amount


                  b-54                 06/05120t8                  $4,000


                  b-55                 07t09t2018                  $4,000


                  b-56                 07137120t8                  $4,ooo


                  b-57                 0910512018                  $4,000


                  b-58                 r0t05t20t8                  $4,000


                  b-59                 Lu0612018                   $4,ooo


                  b-60                 L2lL0l20l8                  $4,000


                  b-61                 07170120t9                  $4,000


                  b-62                 0408120t9                   $4,000


                  b-63                 04118120t9                  $4,000


                  b-64                 04t26t20r9                  $4,000



             c.      On or about each date set   forth below, defendant DOHERTY caused

a check to be made to Individual 13W-2's company in the approximate amount set forth

below, for payments totaling approximately $325,000:




                                           gt7
                                           aa
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 28 of 50 PageID #:28




         Overt Act                 Date                 Amount

             c-1                L218012013               $5,000


             c-2                0U3u2014                 $5,ooo


             c-3                0212812014               $5,ooo


             c-4                0313u20t4                $5,ooo


             c-5                043012014                $5,000


             c-6                0513012014               $5,000


             c-7                06130120t4               $5,ooo


             c-8                0713U2014                $5,000


             c-9                0813L12014               $5,000


            c-10                0913012014               $5,000


            c-11                L0l3u20t4                $5,000


            c-12                1713012014               $5,ooo


            c-13                t2l3Ll20t4               $5,ooo


            c-'1,4              0713]./2015              $5,000


            c-15                0212712015               $5,ooo
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 29 of 50 PageID #:29




         Overt Act                 Date                 Amount


            c-16                0313L12015               $5,000


            c-17                0413012015               $5,000


            c-18                051}il2015               $5,000


            c-19                0613012015               $5,ooo


            c-20                0713u20t5                $5,000


            c-27                0813u2015                $5,000


            c-22                0913012015               $5,ooo


            c-23                L0l3u20t5                $5,ooo


            c-24                til30120t5               $5,000


            c-25                L2l3y2015                $5,000


            c-26                0u3y2016                 $5,000


            c-27                0212912016               $5,000


            e-28                0313y20t6                $5,000


            c-29                0413012016               $5,000


            c-30                05131120t6               $5,ooo
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 30 of 50 PageID #:30




         Overt Act                 Date                 Amount

            c-31                0613012016               $5,ooo


            c-32                0713U2016                $5,000


            c-33                0813U2016                $5,ooo


            c-34                09130120t6               $5,ooo


            c-35                t013t12016               $5,ooo


            c-36                7il30120t6               $5,000


            c-37                03103120fi               $5,ooo


            c-38                03103120t7               $5,ooo


            c-39                0313u2077                $5,000


            c-40                0410512077               $5,000


            c-47                06105120t7               $5,000


            c-42                0610812077               $5,ooo


            c-43                0710612077               $5,ooo


            c-44                0713U2017                $5,ooo


            c-45                0911512017               $5,000
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 31 of 50 PageID #:31




         Overt Act                Date                  Amount


            c-46                1010612017               $5,ooo


            c-47                Lu06120L7                $5,000


            c-48                12107120L7               $5,000


            c-49                0712312018               $5,000


            c-50                0411012018               $5,000


            c-51                041r0120t8               $5,000


            c-52                0a24n0t8                 $5,000


            c-53                05t07t2018               $5,ooo


            c-54                06105120t8               $5,ooo


            c-55                0710912018               $5,000


            c-56                0713u20r8                $5,ooo


            c-57                09105120t8               $5,000


            c-58                t0/0512018               $5,000


            c-59                ru06l20t8                $5,ooo


            c-60                t2lr0l20t8               $5,ooo




                                    31
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 32 of 50 PageID #:32




            Overt Act                         Date                   Amount

                  c-61                     0Ur012019                  $5,ooo


                  c-62                     0408120L9                  $5,000


                  c-63                     04t18t2019                 $5,ooo


                  c-64                     04t26t20t9                 $5,000


                  c-65                     05106120t9                 $5,ooo



             d.          On or about each date set   fodh below, defendant DOHERTY caused

a check to be made to Individual 13W-3 in the approximate amount set forth below, for

payments totaling approximately $144,000:


            Overt Act                         Date                   Amount

                  d-1                      0313u20t4                  $4,500


                  d-2                      04t30t20L4                 $4,500


                  d-3                      05t30t20t4                 $4,500


                  d-4                      061301201.4                $4,500


                  d-5                      0713012014                 $4,500


                  d-6                      0813L120t4                 $4,500




                                               ,o
                                               Oa/
Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 33 of 50 PageID #:33




         Overt Act                 Date                 Amount


             d-7                 09130120L4              $4,500


             d-8                 t0l}Ll20t4              $4,500


             d-9                 11t30t20L4              $4,500


            d-10                 12131120t4              $4,500


            d-11                 0L13712015              $4,500


            d-12                 02127120t5              $4,500


            d-13                 03t37t20L5              $4,500


            d-14                 04t30t20t5              $4,500


            d-15                 0513u20t5               $4,500


            d-16                 0613012015              $4,500


            d-17                 0713u20r5               $4,500


            d-18                 0813u2015               $4,500


            d-19                 0913012015              $4,500


            d-20                 r0l3Ll20L5              $4,500


            d-21                 17130120t5              $4,500
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 34 of 50 PageID #:34




             Overt Act                        Date                   Amount

                   d-22                     t2131120L5                $4,500


                   d-23                    0Lllu20L6                  $4,500


                   d-24                    02129120t6                 $4,500


                   d-25                    0313u20r6                  $4,500


                   d-26                     04130120L6                $4,500


                   d-27                    0513112016                 $4,500


                   d-28                    0613012016                 $4,500


                   d-29                    07t3y20t6                  $4,500


                   d-30                    08/31/2016                 $4,500


                   d-31                    09130120t6                 $4,500


                   d-32                     t0l}Ll20t6                $4,500



              e.        On or about   February 25,2075,McCLAIN sent an email to Marquez,

in which he wrote, "Our Friend's ward? Summer interns?        10   jobs or 12 or what is the

ceiling? Best, Mike."

              f.        On or about April 2,2075, in response to an email asking whether

there was pressure to hire a prospective intern associated with the Thirteenth Ward, or



                                               34
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 35 of 50 PageID #:35




whether the intern could simply be "fairly considered" for the ComEd Internship

Program, Marquez wrote an email that said, "There is pressure                to hire Hope     she

interviews well."

               g.     On or about April 29, 2015, Marqaez forwarded an email to

MeCLAIN, advising that       a candidate    McCLAIN had referred to ComEd for the ComEd

Internship Program had been hired.

               h.     On or about January 20, 2076, McCLAIN wrote an email to

PRAMAGGIORE and HOOKER that said the following:                  "I   am sure you know how

valuable [Lawyer A] is to our Friend," and then went on to write,         "I know the drill   and

so do you.   If you do not get involve [sic] and resolve this issue    of 850 hours for his law

firm per year then   he   wilI go to our   Friend. Our Friend will   cail me and then I will call

you.   Is this a drill we must go through? For me, Hook and I am sure you I just do not

understand why we have to spend valuable minutes on items like this when we know               it
will provoke a reaction from our Friend."

               i.     On or about January 20,2016, PRAMAGGIORE wrote an email to

McCLAIN, in response to the email referenced in paragraph 28(h) and responded,

"Sorry.   No one informed      me. I am on this."
               j.     On or about January 20, 2016, PRAMAGGIORE forwarded the

email referenced in paragraph 28(h) to Marquez.

               k.     On or about January 20,2016, PRAMAGGIORE forwarded the

email referenced in paragraph 28(h) to an employee in ComEd's legal department.



                                                 35
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 36 of 50 PageID #:36




              1.     On or about February 25, 2016, McCLAIN wrote an emaii to

Marquez, in which McCLAIN advised that "the 13th Ward may not want these people in

their column," in reference to ComEd counting interns that returned to the ComEd

Internship Program against the number of spaces allotted to individuals from the

Thirteenth Ward.

              m.     On or about        April 15,2016, McCLAIN wrote an email to ComEd's

project manager for FEJA with the subject heading, "[Lawyer A] law firm?!"

              n.     On or about May 22,2016, the project manager for FEJA wrote an

email to a member of ComEd's legal department that asked, in reference to Law Firm A,

"Are we closed out on this topic?"

              o.     On or about May 24,2016,        McCLAIN wrote   an email to a member   of

ComEd's legal department, HOOKER, and the project manager for FEJA, in which

MeCLAIN proposed terms for the renewal of Law Firm A's contract with ComEd.

              p.     On or about December 2, 20L6, McCLAIN wrote an email to                a

member of ComEd's legal department, in which McCLAIN followed up on a prior email

concerning Law Firm A, and asked "After you catch a couple of good nights [sic] sleep

can we put this item to bed?"

              q.     On or about December 3,2016, PRAMAGGIORE sent an email to

McCLAIN in which she assured McCLAIN that she would resolve outstanding issues

relating to Law Firm A's contract, by noting, "Fidel       uri , are meeting   on Monday to

make our list. This will be on   it."


                                                36
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 37 of 50 PageID #:37




                       In or aroundJarutary   2017, in connection   with the renewal   of   JDDA's

contract, PRAMAGGIORE signed a false and misleading document, known as a "Single

Source Justification," in support of the renewal of JDDA's contract and caused              it to be

submitted to Exelon Business Services. This Single Source Justification form made it

falsely appear that the large amount of money to be paid to JDDA under the contract was

on account of, among other things, JDDA's "unique insight & perspective to promote

ComEd and its business matters to further develop, execute and manage its Government

Relations presence" and did not indicate that a substantial amount of the fees that would

be paid to   JDDA was intended for third parties in an effort to influence and reward Public

Official A.

                s.     On or about April 2, 2017, McCLAIN sent an email to Marquez,

PRAMAGGIORE, and HOOKER, inquiring about the participation of individuals

associated with the Thirteenth Ward in the ComEd Internship Program, and noted,                  "I
strongly recommend this item as we go through this transition         period. My goai is that

both parties are happy and not frustrated a seeond. I hope you agree."

                t.      On or about November 17,2017,     PRAMAGGIORE sent an email to

a member of ComEd's legal department,         forwarding an email that had been sent at the

request of Public Offrcial A, containing a copy of the resume for Individual BM-l.

                u.     On or about January 5, 2018, Marquez sent an email approving the

renewal of JDDA's contract for 2018.




                                               .tn
                                               DI
     Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 38 of 50 PageID #:38




                   v.        On or about January 8, 2018, in connection with the renewal of

JDDA's contract, PRAMAGGIORE signed a false and misleading document, known as a

"single Source Justification," in support of the renewal of JDDA's contract and caused it

to be submitted to Exelon Business Services. This Single Source Justification form

made      it   falsely appear that the large amount of money to be paid to JDDA under the

contract was on account of, among other things, "Consultant has specific knowledge that

cannot be sourced from another consultant/supplier." The form did not indicate that a

substantiai amount of the fees that would be paid to JDDA was intended for third parties

in an effort to influence and reward Public Official A.

                   w.    On or about    February 9,?DL8,McCLAIN sent an email to Marquez's

assistant, in which McCLAIN wrote that            it   was his understanding that the Thirteenth

Ward would be provided ten positions in the ComEd Internship Program: "[F]or as long

as   I   can remember   it   has been ten interns??"

                   x.    On or about February L2,2018, Marquez caused an email to be sent

by his assistant to McCLAIN, in which the assistant wrote, "Confirmed with Fidel we

will work to provide you 10 slots."

                   y.    On or about May 2,2018,       McCLAIN placed   a caII   to Public Official A,

and advised Public Official A that PRAMAGGIORE was experiencing push-back to the

appointment of Individual BM-1 to the ComEd board of directors, and had proposed

finding a job that would pay Individual BM-1 the same amount of money as a board

member.



                                                  38
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 39 of 50 PageID #:39




             z.     On or about May 16, 2018, McCLAIN placed a telephone call to

PRAMAGGIORE, during which call PRAMAGGIORE advised McCLAIN that (i) she

had instructed Marquez to "hire" Individual2SW-1 after checking with DOHERTY; and

(ii) she would, at Public Official A's request, "keep pressing" to appoint Individual BM-1

to the ComEd board of directors.

              aa.   On or about May 16, 2018, McCLAIN placed a telephone call to

Marquez, during which McCLAIN explained why certain individuals were being paid

indirectly through JDDA, by making reference to their utility to Public Official A's

political operation, and advised Marquez that Individual23W-1 should be paid $5,000           a


month.

             bb.    On or about June 29, 2018, DOHERTY caused an email to be sent to

a ComEd employee, which made       it falsely appear that the justification for   an additional

$5,000 a month sought   underJDDA's revised contract was because JDDA would assume

an "expanded role with Cook County Board President's office and Cook County

Commissioners and Department Heads," when in fact the additional $5,000 a month in

compensation sought was intended for pa;rment        to Individual 23W-1, who performed

little or no work forJDDA or ComEd.

             cc.    On or about September 7,2018, MeCLAIN and PRAMAGGIORE

parbicipated in a telephone call, during which PRAMAGGIORE assured McCLAIN that

PRAMAGGIORE was continuing to advocate for the appointment of Individual BM-1 to




                                             39
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 40 of 50 PageID #:40




ComEd's board of directors and explained "You take good care of me and so does our

friend and I witl do the best that I can to, to take care of you."

                dd.    On or about December 6,2018,    McCLAIN sent an email to Marquez

and others at ComEd, in which McCLAIN advised, in reference to the ComEd Internship

Program,   "f   am pretty sure the 'ask' will be to 'put aside' or'save' ten summer jobs for

the 13th Ward."

                ee.    On or about January 29, 20L9, HOOKER traveled to the Union

League Club, in Chicago, Illinois for the purpose of meeting with Marqtezto discuss the

renewal of the JDDA contract.

                ff.    On or about   February 7,2019, McCLAIN traveled to a restaurant in

Springfield, Illinois, for the purpose of meeting with Marqaez to discuss the renewal of

the JDDA contract.

                gg.    On or about February 13,2019, DOHERTY met with Marquez in

Chicago, Illinois, and discussed how to present information to ComEd's chief exeeutive

officer concerning the renewal of the JDDA contract.

                hh.    On or about February 18,2019, PRAMAGGIORE participated in a

telephone call with Marquez, during which call, afber she was told that the subcontractors

associated with DOHERTY just "collect a check" and that Marquez needed to brief the

chief executive officer of ComEd coneerning the JDDA contract, PRAMAGGIORE

advised Marquez not to make any changes to the contract, because "we do not want to

get caught up in a, you know, disruptive battle where, you know, somebody gets their



                                              40
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 41 of 50 PageID #:41




nose out of   joint and we're tryrng to move somebody off, and then we get forced to give

'em a five-year contract because we're in the middle of needing to get something done in

Springfield."

                ii.   In or around March     2019,      in connection with the renewal of JDDA's

contract, the defendants caused the preparation of a false and misleading document,

known as a "Single Source Justification," in support of the renewal of JDDA's contract,

and the submission of this form to Exelon Business Services. This Single Source

Justification form made    it falsely   appear that the large amount of money to be paid to

JDDA was because, among other things, "Consultant has specific knowledge that cannot

be sources [sic] from another supplier/contractor," and did not indicate that a substantial

amount of the fees that would be paid to JDDA was intended for third parties in an effort

to influence and reward Public Official A.

                jj.   On or about March 5,2079,McCLAIN met with a ComEd executive

and Marquezfor the purpose of explaining why the JDDA contract and the payments to

Individual 13W-1, Individual 13W-2, and Individual 23W-1 should be continued for

another year.

                kk.   On or about March 17,2019, DOHERTY caused a representative

from Exelon Business Services to execute       a   contract containing false representations and

promises that the compensation paid to JDDA was in return for providing ComEd with

advice on legislative issues, when in fact a significant portion of the compensation to be




                                                   47
     Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 42 of 50 PageID #:42




paid to JDDA was intended for Individual 13W-1, Individual 13W-2, and Individual 23W-

1,   who in fact did little or no legitimate work for ComEd.

                }|      On or about    April }I,?}L},PRAMAGGIORE advised McCLAIN by

text message, "Just sent out Board approval to appoint [Individual BM-l] to ComEd

Board."

                mm.     On or about April 26,2019, ComEd filed a notice with the U.S.

Securities and Exchange Commission stating that Individual BM-1 had served as a

director of ComEd since April2019.

         All in violation of Title   18,   United States Code, Sections 371and2.




                                                    42
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 43 of 50 PageID #:43




                                           COUNT TWO

       THE SPECIAL JANUARY                 2019 GRAND   JURY further charges:

       1.     Paragraphs 1(a), 1(b), 1(l) through 1(q), and 1(u) through 1(w) of Count One

of this indictment are hereby realleged and incorporated here.

       2.     In or around December 2016, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                     MICHAEL McCLAIN, and
                                     ANNE PRAMAGGIORE,

defendants herein, corruptly offered and agreed to give a thing of value, and caused

ComEd to offer and agree to give a thing of value, namely, a contract for Law Firm A

and monetary payments associated with that contract, for the benefit of Public Offrcial   A

and his associate, Lawyer A, with intent to influence and reward Pubtic Official A, as an

agent of the State of Illinois, in connection with any business, transaction, and series of

transactions of the State of Illinois involving a thing of value of $5,000 or more, namely,

legislation affecting ComEd and its business;

       In violation of Title   18,   United States Code, Sections 666(a)(2) and2.




                                                 43
   Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 44 of 50 PageID #:44




                                       COUNT THREE

         THE SPECIAL JANUARY             2019 GRAND    JURY further charges:

         1.       Paragraphs 1(a), 1(b), 1(d) through 1(k), and 1(m) through 1(cc) of Count

One of this indictment are hereby realleged and incorporated here.

         2.       Between in or around January 2017 and in or around February 201,7, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                    MICHAEL MCCLAIN,
                                   ANNE PRAMAGGIORE
                                     JOHN HOOKER, and
                                       JAY DOHERTY,

defendants herein, knowingly and willfully falsified and caused to be falsified certain

ComEd and Exelon books, records, and accounts, so that those books, records, and

accounts did not in reasonable detail, accurately and fairly reflect the transactions and

dispositions of ComEd's and Exelon's assets, namely, in connection with the renewal of

JDDA's contract for 2077;

         In violation of Title   15, United States Code, Sections 78m(bX5) and 78ff(a), and

Title   L8,   United States Code, Section 2.




                                               44
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 45 of 50 PageID #:45




                                        COUNT FOUR

         THE SPECIAL JANUARY             2019 GRAND   JURY turther charges:

         1.       Paragraphs 1(a), 1(b), 1(d) through 1(k), and 1(m) through 1(cc) of count

One of this indictment are hereby realleged and incorporated here.

         2.       Beiween in or around January 2018 and in or around March 2018, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                    MICHAEL MCCLAIN,
                                   ANNE PRAMAGGIORE,
                                     JOHN HOOKER, and
                                       JAY DOHERTY,

defendants herein, knowingly and willfuIly falsified and caused to be falsified certain

ComEd and Exelon books, records, and accounts, so that those books, records, and

accounts did not in reasonable detail, accurately and fairly reflect the transactions and

dispositions of ComEd's and Exelon's assets, namely, in eonnection with the renewal of

JDDA's contract for 2018;

         In violation of Title 15, United States Code, Sections 78m(b)(5) and 78ff(a), and

Title   18,   United States Code, Section 2.




                                               45
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 46 of 50 PageID #:46




                                        COUNT FIVE

       THE SPECIAL JANUARY              2019 GRAND    JURY turther charges:

       1.     Paragraphs 1(a), 1(b), 1(I) through 1(q), 1(u), 1(w) and 1(ee) of Count One of

this indictment are hereby realleged and incorporated here.

       2.     Between in or around 2018 and in or around       April zllg,in the Northern

District of Illinois, Eastern Division, and elsewhere,

                                  MICHAEL McCLAIN, and
                                  ANNE PRAMAGGIORE,

defendants herein, corruptly offered and agreed to give a thing of value, and caused

ComEd and Exelon to offer and agree to give a thing of value, namely, a position on the

ComEd board of directors and monetary payments associated with that position, for the

benefit of Public Official A and his associate, Individual BM-1, with intent to influence

and reward Public Official A, as an agent of the State of Illinois, in connection with any

business, transaction, and series of transactions of the State of Illinois involving a thing

of value of $5,000 or more, namely,legislation affecting ComEd and its business;

       In violation of Title   18, United States Code, Sections 666(aX2)   and2.




                                              46
    Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 47 of 50 PageID #:47




                                             COUNT SIX

         THE SPECIAL JANUARY                2019 GRAND     JURY turther charges:

         1.     Paragraphs 1(a), 1(b), and 1(l) through 1(dd) of Count One of this indictment

are hereby realleged and incorporated here.

         Z.     In or around May          2018,   in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                       MICHAEL McCLAIN, and
                                       ANNE PRAMAGGIORE,

defendants herein, corruptly offered and agreed to give a thing of value, and caused

ComEd to offer and agree to give a thing of value, namely, payments of $5,000 a month,

for the benefit of Public Official A and his associate, Individual 23W-1, with intent to

influence and reward Public Offrcial A, as an agent of the State of Illinois, in connection

with any business, transaction, and series of transactions of the State of Illinois involving

a   thing of value of $5,000 or more, namely,Iegislation affecting ComEd and its business;

         In violation of Title   18,   united states code, sections 666(aX2) and2.




                                                    47
     Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 48 of 50 PageID #:48




                                       COUNT SEVEN

         THE SPECIAL JANUARY             2019 GRAND   JURY turther charges:

         1.       Paragraphs 1(a), 1(b), 1(d) through 1(h), and 1(m) through 1(dd) of count

One of this indictment are hereby realleged and incorporated here.

         2.       Between in or around May 2018 and in or around July 2018, in the Northern

District of Illinois, Eastern Division, and elsewhere,

                                    MICHAEL MCCLAIN,
                                   ANNE PRAMAGGIORE,
                                    JOHN HOOKER, and
                                      JAY DOHERTY,

defendants herein, knowingiy and willfully falsified and caused to be falsified certain

ComEd and Exelon books, records, and accounts, so that those books, records, and

accounts did not in reasonable detail, accurately and fairly reflect the transactions and

dispositions of ComEd's and Exelon's assets, namely, in connection with the amendment

of   JDDA's contract for 2018;

         In violation of Title 15, United States Code, Sections 78m(b)(5) and 78ff(a), and

Title   18,   United States Code, Section 2.




                                               48
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 49 of 50 PageID #:49




                                          COUNT EIGHT

       THE SPECIAL JANUARY                 2019 GRAND    JURY turther charges:

       1.     Paragraphs 1(a), 1(b), 10) through 1(dd) of Count One of this indictment are

hereby realleged and incorporated here.

       2.     Between in or around January 2019 and on or about March 7L,2019, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                       MICHAEL MCCLAIN,
                                      ANNE PRAMAGGIORE,
                                        JOHN HOOKER, and
                                          JAY DOHERTY,

defendants herein, corruptly offered and agreed to give a thing of value, and caused

ComEd to offer and agree to give a thing of value, namely, a new annual contract for

JDDA and monetary payments associated with that contract, for the benefrt of Public

Official A and his associates, Individuai 13W-1, Individual 13W-2, and Individual2SW-1,

with intent to influence and reward Public Offlcial A,       as an agent of   the State of Illinois,

in connection with any business, transaction, and series of transactions of the State of

Illinois involving   a   thing of value of $5,000 or more, namely,legislation affecting ComEd

and its business;

       In violation of Title    18,   united states code, sections 666(a)(2) and}.




                                                  49
  Case: 1:20-cr-00812 Document #: 1 Filed: 11/18/20 Page 50 of 50 PageID #:50




                                        COUNT NINE

         THE SPECIAL JANUARY             2019   GRAND JURY turther charges:

         1.       Paragraphs 1(a), 1(b), 1(d) through 1(k), and 1(m) through 1(dd) of count

One of this indictment are hereby realleged and incorporated here.

         Z.       Between in or around February 2019 and in or around March 2019, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                    MICHAEL MCCLAIN,
                                   ANNE PRAMAGGIORE,
                                    JOHN HOOKER, and
                                      JAY DOHERTY,

defendants herein, knowingly and willfully falsified and caused to be falsified certain

ComEd and Exelon books, records, and accounts, so that those books, records, and

accounts did not in reasonable detail, accurately and fairly reflect the transactions and

dispositions of ComEd's and Exelon's assets, namely, in connection with the renewal of

JDDA's contract for 2019;

         In violation of Title 15, United States Code, Sections 78m(b)(5) and 78ff(a), and

Title   18,   United States Code, Section 2.

                                                      A TRUE BILL:



                                                      FOREPERSON


UNITED STATES ATTORNEY




                                                 50
